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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

MICHAEL PELTIER AND
KELLY PELTIER
    Plaintiffs,
                                                                CA NO.3:17-cv-00202
STGJ ENTERPRISES,LLC
D/B/A SMI AGENCY,LERETA,LLC,
AND WRIGHT NATIONAL FLOOD
INSURANCE
     Defendants.

                                 NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF THIS COURT:

            Plaintiffs Michael Peltier and Kelly Peltier ("Plaintiffs") file this Notice of

Settlement, and would respectfully show the Court as follows:

            Plaintiffs and Defendants have reached a settlement regarding all of the claims

asserted in this matter during mediation.         The parties will prepare and exchange

settlement documents, which will include a dismissal with prejudice of the underlying

claims asserted by Plaintiffs.


                                                   Respectfully submitted,

                                                   GREER,HERZ & ADAMS,L.L.P.


                                                   By:    /s/John A. Buckley, Jr.
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                                                       COUNSEL FOR PLAINTIFFS
                                                       MICHAEL PELTIER AND
                                                       KELLY PELTIER


                               CERTIFICATE OF SERVICE

                                                                          'day of
      I certify that a copy of the foregoing document was served on the /3*s
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                                                /s/John A. Buckley, Jr.
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